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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

AIR DYNAMICS INDUSTRIAL                     :   CIVIL ACTION NO. 1:19-CV-2073
SYSTEMS, INC.,                              :
                                            :   (Judge Conner)
                     Plaintiff              :
                                            :
               v.                           :
                                            :
D. AARON LEHMAN and                         :
SYSTEM OF SYSTEMS, INC.,                    :
                                            :
                     Defendants             :

                                        ORDER

      AND NOW, this 6th day of November, 2020, upon consideration of the motion

(Doc. 8) to dismiss by defendants, and the parties’ respective briefs in support of

and opposition to said motion, and for the reasons set forth in the accompanying

memorandum, it is hereby ORDERED that:

      1.       The motion (Doc. 8) is DENIED.

      2.       The parties are directed to meet and confer and, on or before Friday,
               November 20, 2020, jointly file a proposed pretrial and trial schedule in
               accordance with the court’s trial term calendar as attached hereto.


                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
